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                                      UNITED STATES DISTRICT COURT
                                        DISTRICT OF RHODE ISLAND

 MAYRA F. PENA

                     PLAINTIFF

 V.

                                                                   C.A. NO: 15-CV-00179-S-LDA
 HONEYWELL INTERNATIONAL INC.,

                     DEFENDANT


 DEFENDANT HONEYWELL INTERNATIONAL INCPS REQUEST FOR THE COURT
  TO CONSIDER SUPPLEMENTAL AUTHORITY IN RELATION TO DEFENDANT'S
                  MOTION FOR SUMMARY JUDGMENT

            Defendant, Honeywell International Inc. ("Honeywell" or "Defendant") hereby requests

 that this Court consider recently published First Circuit case law in relation to its Motion for

 Summary Judgment. Specifically, Honeywell requests that this Court consider the First Circuit's

 recent opinion in Ortiz-Martinez v. Fresenius Health Partners. PR. LLC, No. 16-1453, 2017 WL

 1291193, at *1 (1st Cir. Apr. 7, 2017).1 The First Circuit's opinion is pertinent and significant to

 Honeywell's Motion for Summary Judgment in that it bears directly on the breakdown of the

 interactive process where an employee does not engage in good faith in responding to an

 employer's request for specific information to determine the type of accommodation required.

 Accordingly, Honeywell respectfully requests that this Court (i) allow the parties additional

 briefing limited to analysis and argument concerning the above-referenced case; or (ii) review

 and consider the above-referenced case as it relates to Honeywell's Motion for Summary

 Judgment on its own accord.




 1   A copy of the First Circuit's opinion is attached hereto as Exhibit A.


 4834-7227-6039,1
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                                                     HONEYWELL INTERNATIONAL INC.,

                                                     By its Attorneys,

                                                     NIXON PEABODY LLP



                                                     /s/Neal J. McNamara
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 Date: April 25, 2017




                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the within Defendant's
 Request to Consider Supplemental Authority was served on counsel via the Court's Electronic
 filing system on this 25th day of April, 2017.




                                                     /s/ Neal J. McNamara




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